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                            UNITED STATES DISTRICT COURT
                             MIDDLE DISTRICT OF FLORIDA
                                 ORLANDO DIVISION

                            CASE NO.: 1:19-CV-1159-ORL-40EJK

DAVID LORENZO CRUZ

       Plaintiff,

v.

KAI JIE INC, and FA RONG ZHANG,

      Defendants.
_________________________________________/

                                  NOTICE OF MEDIATION

       Pursuant to this Court’s Case Management Order, dated January 07, 2020 [DE 42],

Plaintiff, David Lorenzo Cruz, and Defendant, Kai Jie Inc (collectively the “Parties”) give notice

that the parties have mutually agreed to Mediate the above matter before Travis Hollifield, Esq.,

with offices at 147 E. Lyman Ave, Ste C, Winter Park, FL 32789, on March 6, 2020 commencing

at 10:30 a.m.

                                 CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that a true and correct copy of the foregoing was electronically filed

with the Clerk of Court using CM/ECF. I also certify that the foregoing document is being served

in the manner specified, either via transmission of Notices of Electronic filing generated by

CM/ECF or in some other authorized manner for those counselor parties who are not authorized

to receive electronically Notices of Electronic Filing, this 21st day of January 2020.
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                                         By: /s/ Monica Espino
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